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                    IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE DISTRICT OF DELAWARE


 In re:                                               Chapter 11

 TOUGH MUDDER INCORPORATED and                        Case No. 20-10036 (CSS)
 TOUGH MUDDER EVENT PRODUCTION                        Case No. 20-10037 (CSS)
 INCORPORATED,

               Debtors.



                    NOTICE CANCELLING STATUS CONFERENCE

              PLEASE TAKE NOTICE that on January 7, 2020, petitioning creditors Valley

Builders LLC, Trademarc Associates Inc. and David Watkins Homes Inc. filed involuntary

petitions under chapter 11 of the Bankruptcy Code against alleged debtors Tough Mudder

Incorporated and Tough Mudder Event Production Inc.

              PLEASE TAKE FURTHER NOTICE that, on January 21, 2020, in each of the

above captioned cases, the Court entered the Order for Relief in Involuntary Case and the Order

Directing the Appointment of Chapter 11 Trustee.

              PLEASE TAKE FURTHER NOTICE that a status conference was to be held on

January 24, 2020 @ 2:30 p.m. (ET) before the Honorable Christopher S. Sontchi, Chief United

States Bankruptcy Judge, 824 Market Street, 5th Floor, Courtroom #6, Wilmington, Delaware

19801.

              PLEASE TAKE FURTHER NOTICE THAT THE STATUS CONFERENCE

SCHEDULED FOR JANUARY 24, 2020 AT 2:30 P.M. HAS BEEN CANCELLED BY THE

COURT.
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Dated: January 22, 2020                     ARCHER & GREINER, P.C.

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